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7
                            UNITED STATES DISTRICT COURT
8
                                     DISTRICT OF NEVADA
9
     UNITED STATES,                            Case No.: 2:08-cr-00064-JCM-EJY
10
                   Plaintiff,
11
     vs.                                       MOTION TO REOPEN 2255
12
     STEVEN GRIMM,                             PROCEEDINGS
13

14                 Defendant
15          STEVEN GRIMM, by and through his counsel JIM HOFFMAN, ESQ.,
16   hereby brings this Motion to Reopen his 2255 Proceedings. This Motion is based
17   on FRCP 60(b), as well as the attached Argument and all other pleadings on file in
18   this case.
19          DATED: 6/2/22
20                                                                  /s/ Jim Hoffman
21                                                                   Jim Hoffman, Esq
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27   MOTION TO REOPEN 2255 PROCEEDINGS - 1

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1                                            ARGUMENT
2           Steven Grimm was previously convicted in 2012 of 14 counts related to a
3    complex mortgage fraud., after a 37-day trial involving an appropriately extensive
4    number of witnesses and amount of documentary evidence. After his appeal, he
5    filed a pro se 2255 petition before the Court. The petition delineated at least 33
6    grounds for relief (Claims A-GG; many of the claims involved multiple subparts).
7    After several lawyers were appointed to the petition and then left the case, the
8    undersigned was appointed on January 26, 2022 to evaluate the petition and
9    determine whether further supplementation was appropriate. On May 31, 2022,
10   this Court issued an order denying the petition.
11          FRCP 60(b) allows a court to grant relief from a final order under various
12   reasons, including mistake, inadvertence, surprise, or excusable neglect.1 This
13   circumstance applies in the instant case. The undersigned is still in the middle of
14   completing his file review of Mr. Grimm’s case (due to the extensive amount of
15   claims involved and trial testimony to review, along with all of the other filings in
16   the case). However, the undersigned plans to file supplemental briefing on a
17   number of the grounds enumerated in the pro se 2255 motion once the file review
18   is completed.
19          The undersigned believed he would have more time before the Court issued
20   its order denying the motion in which to complete his supplementation. Counsel’s
21   inadvertence in failing to inform the Court of this should not bar Mr. Grimm from
22   the benefit of counsel in having supplemental briefing. The undersigned’s
23   intention is to complete and file the supplemental briefing this summer, and both
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      In the habeas context, Rule 60(b) applies to the extent it is consistent with
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     AEDPA – i.e., it cannot be a reason for a second/successive petition. Gonzalez v.
26   Crosby, 545 U.S. 524, 529-30 (2005). The undersigned represents that he is only
     planning to supplement the grounds previously asserted in the pro se 2255 motion.
27   MOTION TO REOPEN 2255 PROCEEDINGS - 2

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1    Mr. Grimm and the undersigned respectfully ask the Court to reopen the 2255
2    proceedings so that this task can be accomplished.
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4           DATED: 6/2/22
5                                                                 /s/ Jim Hoffman
6                                                                  Jim Hoffman, Esq
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27   MOTION TO REOPEN 2255 PROCEEDINGS - 3

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